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 AO 472 (Rev. I I/16) Order of Detention Pending Trial


                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Central District of California


                    United States of America

                              ~~~l~~                                     j      Case No.Z-- Z

                               Defendant


                                         ORDER OF DETENTION PENDING TRIAL

                                                         Part I -Eligibility for Detention

      Upon the

                O      tion of the Government attorney pursuant to 18 U.S.C. § 3142(fl(l), or
                      otion of the Government or Court's own motion pursuant to 18 U.S.C. § 31420(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the
                                                                                                    Court's findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(1), in addition to any other findings made
                                                                                                    at the hearing.
                             Part II -Findings of Fact and Law as to Presumptions under § 3142(e)

  Q A. Rebuttable Presumption Arises Under 18 U.S.C.§ 3142(e)(2)(previous violaror): There
                                                                                                   is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety
                                                                                                    of any other person
    and the community because the following conditions have been met:
        Q (1)the defendant is charged with one of the following crimes described in 18 U.S.C.
                                                                                                   § 3142(fl(1):
             Q(a)a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
               § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribe
                                                                                                                   d; or
             O(b)an offense for which the maximum sentence is life imprisonment or death; or
             Q(c) an offense for which a maximum term of imprisonment of 10 years or more is
                                                                                                    prescribed in the
               Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import and
                                                                                                              Export Act
              (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70
                                                                                                      508); or
             O(d)any felony if such person has been convicted oftwo or more offenses described
                                                                                                      in subparagraphs
              (a)through (c)of this paragraph, or two or more State or local offenses that would have
                                                                                                           been offenses
               described in subparagraphs(a)through (c) of this paragraph if a circumstance giving
                                                                                                        rise to Federal
              jurisdiction had existed, or a combination of such offenses; or
             O(e) any felony that is not otherwise a crime of violence but involves:
              (i) a minor victim;(ii) the possession of a firearm or destructive device (as defined
                                                                                                     in 18 U.S.C. § 921);
              (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250;
                                                                                                        and
        O (2)the defendant has previously been convicted of a Federal offense that is described
                                                                                                   in 18 U.S.C.
          § 31420(1), or of a State or local offense that would have been such an offense if a
                                                                                                  circumstance giving rise
          to Federal jurisdiction had existed; and
       Q (3)the offense described in paragraph (2)above for which the defendant has been
                                                                                               convicted was
          committed while the defendant was on release pending trial for a Federal, State,
                                                                                             or local offense; and
       O (4) a period of not more than five years has elapsed since the date of convictio
                                                                                          n, or the release of the
          defendant from imprisonment, for the offense described in paragraph (2) above, whicheve
                                                                                                       r is later.


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    O B. Rebuttable Presumption Arises Under 18 U.S.C.§ 3142(e)(3)(norcor;cs,firearm, orher offenses): There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
      defendant as required and the safety of the community because there is probable cause to believe that the defendant
      committed one or more of the following offenses:
           O (1)an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
             Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act(21
             U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70508);
          O (2)an offense under ]8 U.S.C. §§ 924(c), 956(a), or 2332b;
          ~ (3)an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
             or more is prescribed;
          O (4)an offense under Chapter 77 of Title 18, U.S.C.(18 U.S.C. §§ 1581-1597)for which a maximum term
                                                                                                                       of
             imprisomnent of 20 years or more is prescribed; or
          Q (5)an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
             2251,2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
             2260, 2421, 2422, 2423, or 2425.

   O C. Conclusions Regarding Applicability of Any Presumption Established Above

            ~ The defendant has not introduced sufficient evidence to rebut the presumption above, and detention
                                                                                                                 is
              ordered on that basis. (Parr ~~~ need nor be compered.)

               OR

            O The defendant has presented evidence sufficient to rebut the presumption, but after considering
                                                                                                              the
              presumption and the other factors discussed below, detention is warranted.

                                  Part III -Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented
                                                                                                  at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Governme
                                                                                             nt has proven:
      By clear and convincing evidence that no condition or combination of conditions of release
                                                                                                 will reasonably assure
       e safety of any other person and the community.

   Q By a preponderance of evidence that no condition or combination of conditions of release
                                                                                              will reasonably assure
     the defendants appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention
                                                                                           include the following:

        Weight of evidence against the defendant is strong
      Q Subject to lengthy period of incarceration if convicted
      O P or criminal history
          rticipation in criminal activity while on probation, parole, or supervision
          story of violence or use of weapons
      Q History of alcohol or substance abuse
      ~ Lack of stable employment
      Q Lack of stable residence
      O Lack offinancially responsible sureties


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         Q     a k of significant community or family ties to this district
               ignificant family or other ties outside the United States
               ack of legal status in the United States
             Subject to removal or deportation after serving any period of incarceration
         ~   Prior failure to appear in court as ordered
         O   Prior attempts)to evade law enforcement
         O   Use of aliases) or false documents
         Q   Background information unknown or unverified
         ~   Prior violations of probation, parole, or supervised release

 OTHER REASONS OR FURTHER EXPLANATION:




                                                Part IV -Directions Regarding Detention

The defendant is remanded to the custody ofthe Attorney General or the Attorney General's
                                                                                                  designated representative for
confinement in a corrections facility separate, to the extent practica     from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforde a reasonable opportunity for private consultatio
                                                                                                                         n with
defense counsel. On order of a court of the United States or on equest of an attorney for the Governmen
                                                                                                               t, the person in
charge of the corrections facility must deliver the defendant to      nited States Marshal for the pur~o~ an appearance in
connection with a c urt proceeding.

Date:             ~      (       ~j('~C
                                                                            United States Magistrate J




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